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                            Exhibit B
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                                                                                                                        2215 N. Broadway
                                                                                                                    Los Angeles, CA 90031
                                                                                                                          (213) 252-2824 –
                                                                                                                   Heber.Jurado@lacity.org




                                                                                             March 10, 2020
                                                                                             Case Number: 757357
                                                                                             APN: 4243002065
Property Owner:       Posting
Mailing Address:
                      ,

In Addition Notify:
Mailing Address:

                                    NOTICE AND ORDER TO COMPLY
                           Sections 161.702 and 161.354, Los Angeles Municipal Code
                          Sections 17980 and 17980.6, California Health and Safety Code

Our records indicate you are the owner of the property located at 1169 E PALMS BLVD . An inspection of the
premises has revealed conditions that affect the health and safety of the occupants and cause the building to be
determined to be in violation of the City of Los Angeles Municipal Code. These conditions, their location on the
premises, and the specific violation(s) of the Los Angeles Municipal Code (LAMC) and or California Health and
Safety Code are described on the attached pages.

You, as the property owner, or responsible party, are ordered to eliminate all of the described conditions and
diligently pursue the work necessary to eliminate any violations of the LAMC and Health and Safety Code on or
before 4/16/2020.

Some of the work required to repair the building may require that you obtain a permit and request related
inspections from the Department of Building and Safety. We strongly urge you to seek the services of qualified
installers, properly licensed by the State Contractors License Board.

A re-inspection of the premises will be conducted on Thursday, April 23, 2020 between 1:45 PM and 3:45 PM.
You or your representative must be present to escort the Housing Inspector. Any and all units are subject to re-
inspection and require the same uniform compliance throughout the premises. You must provide notice to all
affected tenants not less than 24 hours prior to the scheduled inspection. The entire premises must be in full
compliance with the Los Angeles Municipal Code. Any questions you have may be directed to the office identified
at the top of this notice. Si tiene preguntas, favor de llamar al número que se encuentra al principio de esta
notificación.

Issuing Inspector: Andres Moran                                Proof of Mailing -- On 3/10/2020 the undersigned mailed
                                                               this notice by First-Class Mail, postage prepaid, to the
                                                               person(s) listed on the last equalized assessment roll.




Form/NOC/06/05                                                                                                            APN: 4243002065




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                                                          FIRE SAFETY


Failure to provide and maintain the required permanently wired, with battery back-up, smoke detectors at all sleeping rooms, and
areas adjacent to sleeping rooms. Sections 91.8603, 91.8104 of the L.A.M.C.
Violation Severity Level: HIGH

        1809 S PENMAR AVE
        LIVING ROOM, Note: Battery

                                                        MAINTENANCE


Failure to maintain plaster/drywall walls/ceilings in a smooth and sanitary condition. Sections 91.2.401.6, 91.8104.4 of the
L.A.M.C.
Violation Severity Level: LOW

        1809 S PENMAR AVE
        LIVING ROOM, Note: Repair any holes cracks, or peeling paint as necessary-(including but not limited to--ceiling)

        1809 S PENMAR AVE
        BEDROOM1, Note: Repair any holes cracks, or peeling paint as necessary (entire bedroom)

                                                HEATING AND VENTILATION


Failure to provide and maintain the required central or individual room heating appliance in good repair and operable at all times.
Sections 91.8104.11, 91.8111 of the L.A.M.C.
Violation Severity Level: MEDIUM

        1809 S PENMAR AVE
        LIVING ROOM, Note: Inoperable


                                                          SANITATION


Failure to provide and/or maintain the required foundation vent or under floor access screens. Section 91.8104 of the L.A.M.C.
EXTERIOR, Note: Under tankless heater--open vents
                          1809 S PENMAR AVE

                                                           PLUMBING


Failure to maintain the plumbing system in conformity with the code regulations and department approvals in effect at the time of
construction. Sections 91.8104, 94.103.1.1 of the L.A.M.C.
EXTERIOR, Permit Required, , Note: Tankless water heater. Obtain permits and approvals from LADBS Dept. for installation of
a tankless water heater located on the exterior (SE) corner
                           1809 S PENMAR AVE




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Inspector Name Andres Moran
Office Location   2215 N. Broadway

                  Los Angeles, CA 90031
Survey Date       3/3/2020


WHERE INDICATED ABOVE, PLANS AND/OR A BUILDING PERMIT FROM THE DEPARTMENT OF BUILDING AND SAFETY IS
REQUIRED TO BE OBTAINED BEFORE REPAIR OR DEMOLITION WORK IS STARTED.


For consultation regarding this notice, or for information regarding obtaining Permits, the inspector whose name appears
on this Notice may be contacted by telephone between the hours of 7:30 and 9:00 a.m., Monday through Friday.


YOU MAY BE SCHEDULED FOR A GENERAL MANAGER'S HEARING, AND A LIEN MAY BE RECORDED AGAINST YOUR
PROPERTY FOR ALL ADMINISTRATIVE AND INSPECTION COSTS ASSOCIATED WITH YOUR FAILURE TO COMPLY WITH
THIS ORDER.




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PRE-COMPLIANCE JUDICIAL REVIEW AND RIGHT TO REFUSE ENTRY:

You have a right to seek pre-compliance judicial review without threat of imposition of any fine or penalty and/or
refuse entry into the premises for the inspection in absence of an inspection warrant issued by a judge. Refer to
the LAMC Section 161.601 for more information. A copy of the LAMC may be obtained from a public library or by
visiting the following website: https://www.lacity.org/your-government/government-information/city-charter-rules-
and-codes

FAILURE TO COMPLY WARNING:

You may be schedule for a General Manager's hearing and a lien may be recorded on this property for all
administrative and inspection costs associated with your failure to comply with this notice order. This matter may
be referred to the City Attorney for further enforcement. Any person who violates or causes or permits another
person to violate any provision of the Los Angeles Municipal Code is guilty of a misdemeanor, which is
punishable by a fine of not more than 1,000.00 and/ or six months imprisonment per LAMC section 11.00 (m).

LEAD HAZARD WARNING:

Due to the possible presence of lead-based paint, lead safe work practice are required on all repairs in pre-1979
buildings that disturb paint. Failure to do so could create lead hazards that violate California Health and Safety
Code Sections 17920.10 and 105256 and you may be subject to a 1,000.00 fine or criminal prosecution. For
more information, visit the California Department of Public Health website at:
https://www.cdph.ca.gov/Programs/CCDPHP/DEODC/CLPPB/Pages/LRCRegs.aspx.

TAX WARNING (APPLICABLE WHEN PROPERTY IS DETERMINED SUSBSTANDARD):

When a property is determine to be a substandard property pursuant to Section 24436.5 of the California
Revenue and Taxation Code, the following apply: A taxpayer who derives rental income from housing determined
by the local regulatory agency to be substandard by reason of violation of state and local codes dealing with
health, safety or building, cannot deduct from state personal income tax and corporate income tax, deductions for
interest, depreciation, or taxes attributable to such substandard structure where the substandard conditions are
not corrected within six (6) months after notice of violation by the regulatory agency. Please note that the
Compliance Date of this order marks the beginning of the six (6) month period. The department is required by law
to notify the State Franchise Tax Board of failure to comply with these codes.

SUBSTANDARD RECORDING (APPLICABLE WHEN PROPERTY IS DETERMINED SUSBSTANDARD):

When building or portion thereof is determined to be a substandard as defined under Section 17920.3 of the
California Health and Safety Code, a Notice of Non Compliance is recorded at the Los Angeles County
Recorder's Office The Department may charge the property owner for any cost involved in recording the notice.
(Health and Safety Code section 17985).

RENT ESCROW ACCOUNT PROGRAM (REAP) NOTICE:

Failure to correct the conditions that constitute the violations specified by this notice may subject this property and
units to inclusion in the City of Los Angeles Rent Escrow Account Program (REAP). Inclusion in REAP entails a
rent reduction based on the level of severity of the uncorrected conditions, and allows the tenant to pay the
reduced rent to the City instead of th4e landlord. (Section 162.00. et. Seq. LAMC).

RETALIATION:

No lessor may retaliate against a lessee because if his compliant to an appropriate agency as to the tenantability
of a dwelling pursuant to Section 1942.5 pf the Civil Code.




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INSPECTION AND PENALTY FEES:

If the conditions found during a Systematic Code Enforcement Program (SCEP)-periodic inspection remain uncorrected
after the first re-inspection, Los Angeles Municipal Code Sections 161.901.1 and 161.901.2 requires that the Department
cost of all subsequent re-inspections be billed to the property owner. All Complaint-based inspections where an order is
issued will be billed to the property owner.

A late charge equal to two times the fee or cost and a collection fee equal to 50 percent of the original fee or cost shall be
imposed if any fees or costs imposed are not paid within 30 days of service of notice of the imposition of the fee or cost
or, if timely appealed, of any decision on the appeal.

Any person who fails to pay the assessment fee of cost, penalty, or collection fee shall also pay interest at the rate of
one percent per month, or fraction thereof, on the amount of the fee or cost, penalty and collection fee imposed, from the
60th day following the date the billing notice was mailed. (Sections 161.901, et seq.)

APPEALS:

There is an appeal procedure established in this city whereby the Housing and Community Investment Department have
the authority to hear and decide appeal of inspection fee and zoning order, upon payment of $128 appeal processing fee
(See Sections 161.1002 and 161.1003 of the Los Angeles Municipal Code).

In addition, the Housing Appeals Board have the authority to hear and decide appeal of an order concerning the
maintenance, sanitation, ventilation, use, occupancy or habitability of residential rental properties, buildings, units,
structures, or common areas falling within the scope of the Los Angeles Housing Code, upon payment of $150 appeal
processing fee. (See Section 161.1004 of the Los Angeles Municipal Code).

To obtain a copy of appeal form, visit any of the Department's public counter or https://hcidla.lacity.org/Inspections-and-
Fees.

To obtain more information on how/when to file appeal refer to Division 10 of Article I of Chapter XVI of the Los Angeles
Municipal Code, a copy of which may be accessed at the following link:
http://library.amlegal.com/nxt/gateway.dll/California/lamc/municipalcode/chapterxvihousingregulations?
f=templates$fn=default.htm$3.0$vid=amlegal:losangeles_ca_mc$anc=JD_C16A1D10.

PROPERTY MANAGEMENT TRAINING PROGRAM (PMTP):

When a property owner has failed to comply with a notice or order within 45 days or less of the specified compliance
date, the owner is required to pay a $225.00 registration fee and attend PMTP training sessions. The registration fee
must be paid directly to the approved training agency. Failure to comply may result in the imposition of a criminal
infraction, punishable by a fine of $225.00. (Section 154.02, et seq. LAMC.)

HISTORICAL PRESERVATION:

Your property might be located within a Historical Preservation Overlay Zone, or may otherwise be determined
historically significant. The scope work required to correct conditions that constitute violations specified in this notice
may require advanced approval from the appropriate regulatory agency.

RELOCATION INFORMATION:

Any tenant who is displaced or subject to displacement from a residential rental unit as a result of a Notice to Vacate or
any order requiring the vacation of the unit by the Enforcement Agency, shall be entitled to relocation benefits payable by
the landlord to the tenant in each unit in the amounts prescribed in Section 163.05 L.A.M.C. Furthermore if the landlord
fails, neglects, or refuses to pay relocation payments, the City may advance relocation payments to the affected tenant
(s). Recovery of the relocation payments plus a penalty of 50% will be assessed against the property in the form of a lien
as per California Health and Safety Code Section 17975.5.

COMPLIANCE:

A property owner has complied with this Notice/Order when an inspector from the Los Angeles Housing and Community
Investment Department have verified the abatement of the cited violations in conformity with requirement of the Los
Angeles Municipal Code.
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                    Housing and Community Investment Department
                                  Inspection Report
Inspection Date and Time: 4/23/2020 1:45:00 PM                APN: 4243002065
Address:1169 E PALMS BLVD                                     Case# 757357
Inspector Name:Andres Moran

For a more detailed explanation of the Violation Severity Level, please refer to the attached Severity Level Basis
document.
Unit Address                Area              Violation                 Permit    Inspector's Note                   Violation
                                                                                                                     Severity
                                                                                                                     Level
1809 S PENMAR AVE           LIVING ROOM       SMOKE DETECTORS                    Battery                             HIGH
                            LIVING ROOM       HEATING APPLIANCE                  Inoperable                          MEDIUM
                            EXTERIOR          FOUNDATION VENTS                   Under tankless heater--open         LOW
                                                                                 vents
                            LIVING ROOM       INTER-WALLS/CEILING                Repair any holes cracks, or         LOW
                                                                                 peeling paint as necessary-
                                                                                 (including but not limited to--
                                                                                 ceiling)
                            BEDROOM1          INTER-WALLS/CEILING                Repair any holes cracks, or         LOW
                                                                                 peeling paint as necessary
                                                                                 (entire bedroom)
                            EXTERIOR          GENERAL PLUMBING          Required Tankless water heater. Obtain       Not Assigned
                                                                                 permits and approvals from
                                                                                 LADBS Dept. for installation of a
                                                                                 tankless water heater located on
                                                                                 the exterior (SE) corner




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                   Housing and Community Investment Department
                                Severity Level Basis
Each outstanding Code violation cited at the subject property is assigned a severity level. The basis for the assigned
severity levels can be seen below.
Violation                      Violation Description                   Basis for Severity Level                                        Severity Level
SMOKE DETECTORS                Smoke Detector(s) missing,              Missing or improperly maintained fire warning devices is        HIGH
                               defective, or not hard wired            a life-threatening violation that increases the risk of
                                                                       harm, injury, or death to residents in a building.
HEATING APPLIANCE              Room heating appliance missing or       Failure to provide or maintain room heating reduces the         MEDIUM
                               defective                               habitability of a dwelling unit per Section 1941.1.a.4 of
                                                                       the California Civil Code. A lack of comfort heat may
                                                                       affect the health of the occupants, but it is unlikely to be
                                                                       life-threatening.
FOUNDATION VENTS               Foundation vents screens or             Foundation vents helps remove moisture that can lead            LOW
                               underfloor access cover                 to damp rot and eventually costly damage. It also
                               missing/broken                          prevents intrusion of rodents and other similar animals
                                                                       underneath a structure. This violation does not create
                                                                       any spontaneous imminent hazard to occupants.
                                                                       Effects are long term. Hence it is assigned a Low
                                                                       severity level
INTER-WALLS/CEILING            Plaster/drywall wall/ceiling covering   Defective wall/ceiling covering creates a minimally             LOW
                               defective, deteriorated, or paint is    untenantable situation and could diminish weather
                               peeling                                 protection. Although this type of violation reduces
                                                                       habitability and may cause injury, it is unlikely to be life-
                                                                       threatening.




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                           Exhibit C
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